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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
MIDLAND-ODESSA DIVISION

UNITED STATES OF AMERICA

VS. NO. 7:22-CR-154

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RAYMOND CHARLES JR.

STIPULATION OF TESTIMONY AND FACTS

The United States of America, and Defendant Raymond Charles Jr., by and through his
attorney, agree to the following:
1. Both parties represent to the Court that they stipulate that the following facts are not
disputed:

a. On July 1, 2022, Corporal Gary Potter of the Odessa Police Department
encountered Raymond CHARLES Jr, who was the sole occupant of a blue
Chevrolet Silverado pickup truck.

b. During a search of the truck Corporal Potter located a loaded black Ruger P90 .45
caliber semi-automatic handgun with serial # 663-83678, manufactured in Prescot
Arizona next to the seat belt on the driver’s side.

c. Raymond CHARLES Jr. was previously convicted of a felony offense in the
Circuit Court in Sebastian County Arkansas for Felon in possession of a firearm
in case #CR-2012038.

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The Defendant's sole dispute is the denial of his suppression motion, argued on
September 29, 2022.

3. The parties agree that Raymond CHARLES Jr. has preserved for appeal the questions
raised in the motion to suppress litigated in his case.

4. The Defendant admits that he unlawfully possessed the firearm, despite knowing his

status as a prohibited person.

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The Defendant waives his right to a jury trial and agrees to a stipulated bench trial.

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AYMOND CHARLES JR. ANTHONY J. COLTON
Defendant Attorney for Defendant
